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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

ROBERT CARMACK,                                     Case No. 18-cv-11018
        Plaintiff,
v                                                   Hon. Matthew F. Leitman

CITY OF DETROIT, a municipal corporation,
DETROIT BUILDING AUTHORITY,
GABE LELAND, in his official and individual capacities as the duly elected
member of the Detroit City Council,
MIKE DUGGAN, in his official and individual capacities as the duly elected
Mayor of the City of Detroit,
ERIC SABREE, in his official and individual capacities as the duly elected
Treasurer for Wayne County,
            Defendants.
________________________________________________________________/

PLAINTIFF’S RESPONSE TO THE COURT’S OCTOBER 9, 2018 ORDER
                   TO SHOW CAUSE [40].
      NOW COMES PLAINTIFF ROBERT CARMACK, by and through his

legal counsel, ANDREW A. PATERSON, and for his Response to the Court’s

October 9, 2018 Order to Show Cause [40] (“Response”), states as follows:

      On August 17, 2018, Defendant Building Authority filed a motion to dismiss

Plaintiff’s first amended complaint [31]. On September 10, 2018, the Court

entered a stipulated order extending the time for Plaintiff to respond to Defendant

Building Authority’s motion to dismiss [31] until September 28, 2018. (Docket

No. 38). On October 9, 2018, the Court entered an order to show cause for the

Plaintiff to show cause why the Court should not grant Defendant Detroit Building

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Authority’s motion to dismiss [31]. (Docket No. 40). After reviewing the Court’s

October 9, 2018 order to show cause [40], on October 14, 2018, Plaintiff filed an

Emergency Motion for Extension of Time to File A Response to Defendant’s

Motion to Dismiss [31]. (Docket No. 41).

      As explained in Plaintiff’s Emergency Motion for Extension of Time [41],

there have been extenuating circumstances that have prevented Plaintiff’s counsel

from filing a timely response to Defendant Detroit Building Authority’s motion to

dismiss [31]. As noted in Plaintiff’s Emergency Motion for Extension of Time

[41], Plaintiff’s counsel’s very busy case load and the recent indictment of

Defendant Gabe Leland, which required Plaintiff to engage in private meetings and

discussions with the U.S. Department of Justice and FBI, Plaintiff’s counsel has

not had adequate time to confer with Plaintiff to discuss the merit of Defendant

Detroit Building Authority’s motion to dismiss [31].

      Plaintiff’s counsel needs until October 29, 2018 to file a response to

Defendant Detroit Building Authority’s motion to dismiss [31] because Plaintiff’s

counsel has been involved in two (2) new high-profile civil cases that involved

emergency show cause hearings for preliminary injunctions. In fact, Plaintiff’s

counsel has a preliminary injunction hearing before U.S. District Judge Gershwin

Drain this Friday at 9:30 a.m. in one of the high-profile cases.




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      Additionally, Plaintiff’s counsel needs additional time because, as this Court

is aware, Defendant Councilman Gabe Leland was recently indicted by a federal

grand jury based upon allegations pled in Plaintiff’s first amended complaint. (See

Defendant Gabe Leland’s indictment attached as Exhibit A). As a result of

Defendant Councilman Leland’s recent indictment, Plaintiff’s counsel has not been

able to confer with Plaintiff to discuss the merits and contents of Defendant Detroit

Building Authority’s motion to dismiss [31] because Plaintiff and his criminal

defense attorney have been consumed with meetings with representatives from the

U.S. Attorney’s office and FBI regarding Defendant Leland’s indictment and the

allegations set forth therein.

      Plaintiff’s counsel believes that he will be able to confer with Plaintiff and

file a response to Defendant Building Authority’s motion to dismiss [31] on or

before October 29, 2018. Due to the aforementioned extenuating circumstances,

an extension is warranted to allow Plaintiff’s counsel time to adequately prepare a

response. The granting of an extension will not in any way prejudice or adversely

affect the Defendant Detroit Building Authority because discovery has been stayed

by order of this Court and this case is in its early stages.




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                                   CONCLUSION

      WHEREFORE, for the foregoing reasons, and for the reasons set forth in

Plaintiff’s Emergency Motion for Extension of Time [41], Plaintiff prays that this

Honorable Court allows Plaintiff until October 29, 2018 to file a response to

Defendant Detroit Building Authority’s Motion to Dismiss [31].

Dated: October 14, 2018                         Respectfully submitted,

                                                /s/ ANDREW A. PATERSON
                                                ANDREW A. PATERSON (P18690)
                                                Attorney for Plaintiff
                                                2893 E. Eisenhower
                                                Ann Arbor, MI 48108
                                                (248) 568-9712


                          CERTIFICATE OF SERVICE

      I, ANDREW A. PATERSON, certify that forgoing document(s) was filed

and served via the Court's electronic case filing and noticing system (ECF) this

14th day of October, 2018, which will automatically send notification of such

filing to all attorneys and parties of record registered electronically.


Dated: October 14, 2018                         Respectfully submitted,

                                                /s/ ANDREW A. PATERSON
                                                ANDREW A. PATERSON (P18690)
                                                Attorney for Plaintiff
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